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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                                                                      8:22CR222
                       Plaintiff,
                                                          STATEMENT OF PLAINTIFF
                                                        PURSUANT TO NECrimR. 32.1(b)
       vs.
                                                          REGARDING SENTENCING
                                                       PROCEDURES AND ADOPTION OF
MARK BERNAL,
                                                         THE REVISED PRESENTENCE
                                                           INVESTIGATION REPORT
                       Defendant.


       COMES NOW Plaintiff, the United States of America, by and through the undersigned

Assistant United States Attorney, and hereby provides this written statement in accordance with

NECrimR. 32.1(b), regarding Sentencing Procedures.

       Plaintiff hereby adopts the Revised Presentence Investigation Report. Plaintiff

anticipates offering no additional evidence at sentencing, other than to rebut or address issues

raised by Defendant.

                                              Respectfully Submitted,

                                              UNITED STATES OF AMERICA,

                                              SUSAN T. LEHR
                                              Acting United States Attorney
                                              District of Nebraska



                                      By:     s/ Christopher L. Ferretti
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on July 17, 2023, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which sent notification of such filing to all registered
participants. I also hereby certify that a copy of the same was served by regular mail, postage
prepaid, to the following non-CM/ECF participants:

                 Travis E. Wilcoxen
                 U.S. Probation and Pretrial Services
                 Officer



                                                            s/ Christopher L. Ferretti
                                                            Assistant U.S. Attorney




adoption of psr.docx *                                  2
